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                                                              Page 2L2
 1              MR. SAILLE: Are you practicing ]aw at
 2        this time   ?

 3              MR. CONNER: Yes.
 4              MR. KRAWITZ: I don't have anything else.
 5              MR. WHITE: I don't have anYthing.
 6              MR. KRAWITZ: You can Proceed, if You
 1        wish, to closing.
 I              MR. WHITE: At the Panel's preference,
 9        would you rather del-iberate now if the Office
10        of Disciplinary Counsel made a prima facia
11         showing of at least one ru.Ie of vioLations,
1-2        and then evidence and aggravation and
13        mitigations coufd be incfuded in the closings,
L4        or hear closings now and deliberate after?
15             MR. KRAWITZ: We'd be okaY with that.
76               Do you have anY --
71               MR. CONNER: Yeah. I would like the
18         Panef to hear closing arguments before they
l9         woufd deliberate on whether or not there is            a

20         prima facie case or not.
21               MR. KRAWITZ: OkaY, then we'If hear
22         c.Iosings and we'lf defiberate.        We   can proceed
23         with closings.
z4               MR. CONNER: Me fi rst     ?




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                                                                   Paqe   21,3

 1                    MR. KRAWITZ: Yes.
 2                    MR. WHITE:Yes. Itrs my burden.
 3                    MR. CONNER: Irm not going to belabor the
 4         Panef with information that you have been
 5         listeninq to all day today. I'rn qoing to cut
 6         straight to the chase.
 '7
                      Again, I refer you back to the Petition
 8         for Discipline.            The Petition for Discipline
 9         basically alleges that I stole money from              Ms.

10         Eauntleroy and that I failed to repay the
11         money.

l2                    The statute that the Disciplinary Counsel
13         relies upon is the criminal statute 18 PACS
14         Section        3921   -A which is a crimina.I statute for
15         the   ft   .

16                    I al-Ieged when I first        began that I had
1-1        not stolen any money from Ms. Fauntl-eroy. And
1B         it's my position that in order for the Panel
79         to find that I was in vio1ation of any rules
20         of discipline,           Disciplinary Counsef woufd have
2t         to substantiate the fact that f stole              money

22         from Ms. Faunt I eroy.
23                    There has been no dispute by Discipllnary
24         Counsef or from any witnesses as to the amount




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                                                                Page 214
 1        of money Ms. Fauntleroy had in her possession
 2        between August LsL, 20L6 and April 2'llh, 201'l .
 3        That amount has been testified        to, to   be

 4         $137, 385.55.
 5               There has been no dispute about what
 6        portion of that money was used for the benefit
 7        of Ms. Fauntleroy. That amount of money was
 I         ("a ?a,4 ??

 9               There was some cros s -examinat ion from
10         Disciplinary Counsel about salaries that were
11         paid for Shelio Thomas. But testimony from
1,2        Ms. Fauntleroy was that to her knowfedge, all
13         of her caretakers had been paid for the
14         services that they provlded. And Ms. Thomas
15         was not called upon to come in and to testify
16         that she had not been paid the amounts that I
1-7        set forth in the exhibit that I believe            has

18         been marked as SR-5.
19               So there has been no testimony, no
20         dispute at all    AS    to how much money Ms.
2t         Fauntleroy had.        There has been no dispute or
22         testimony as to how much money, vrhat port j-on
23         of that money was used on her beha.If . And
24         there has been no dispute or testimony as to




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                                                                      Page   21,5

 1        what amount of her money            was remarnr_ ng   at the
 2        t j-me my Power of Attorney was revoked and the
 3        amount   of money that I paid her which would
 4        have been the $67,708.15.
                Based on that, there has been no
 6        testimony whatsoever that I ever stole any
 1        money at afl from Ms. FauntleroY.
 8        Disciplinary Counsel has talked about the
 9        amount of money that I qot off of the card
10        that I had that was Ms. Fauntleroy's.
11             But I have explained to you that as I
1.2       took money off of her card, I afso deposited
13        my own money into her account.                And I read off
1-4        the amounts of money that            were   deposited into
15         her account which was $33r000. There has been
1"6        no dispute as to whether or not that money was
t'7        put in there.       There has been no dispute about
18         any of it,   even    the   $10, 000.        There was no
L9                                      that that money
           di spute about Ms. Eaunt.leroy
20         was not given to her to pay me for 1ega1
27         services. There has been no dispute that I
22         didn't provide those 1ega1 services.
23               So monies that were deposited, $33,000
24         into her account, there was no dispute that




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                                                                Paqe 2L6
 1        that was my money and I deposited that money
 2        into the account to address monies that she
 3        aflowed me to use off of her card.
 4              In addition to that. there has been no
 5        dispute whatsoever that I paid $11,846.2O of
 6        my olqn personal money to go towards expenses
 '7        for Ms. Fauntleroy. And last1y, there          has

 8         been no dispute at afL that I returned
 9         $67,708.15.
10              Again, based on the four corners of this
11         document riqht here, there has been no proof
t2         whaLever thaL T srole any money. This is a
13         criminal statute, a criminal statute saying I
L4         stole her money. Eor me to steal her money
15         means   that I have to take her money and not
T6         return her    money.

ll             I had an agreement with her about her
18         money. She may dispute that. But again, the
1"9        evidence was that there were documentations
20         that   cameto her, thal we talked about that.
2t         And that all of that money, every bit of money
22         l-hat she had in her account was accounted for,
23         given back to her. And in fact, there was
24         more than what she had. It was over $8000




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                                                                 Paqe 2L1
 1        more by rnistake that I gave to her.
 2               There is simply no evidence whatsoever
 3         that I stole any money from her. And if there
 4         is no evidence that I stole any money from her
           which is asserted in this petition. then I
 6         could not have viofated any of the rules for
 7         professionaf conduct for stealing.
 8               MR. WHITE:    Did Sarah Faunt.leroy
 9         authorize John Conner to use the funds in her
10         !(ells Fargo account at vari-ous casino? Mr.
11         Conner just argued that there is no test j-mony
L2         that he stole any money.       He   is parti-a11y
13         correct.    He stipulated    to executing    $100,000
L4         worth of transactions against her account.
15         The onl-y testimony was he wasn't authorized to
L5         do so.
L1               You heard Ms. Eauntleroy testify        thj-s
18         morning unequivocally that she never gave Mr.
19         Conner perrnission to use the funds in her
20         welfs Fargo account at a casino. He never
21         asked her for such permission. And had he
22         done so, she wou.Idn't have given it to him.
23               As I warned you this morning, Mr. Conner
24         offered no documenL in support of his




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                                                              D-^^
                                                              !qY!    ,18
                                                                      4t


 1         assertion that Ms. Fauntleroy authorized him
 2         to use the funds in her Weffs Fargo account at
 3         a casino.
 4              I coufd be mistaken, but I'm pretty sure
 5         in his cross of Ms. Fauntl-eroy, Mr. Conner
 6         never asked her i-f she had authorized him to
 1         use the funds in her Wefls Eargo account at            a

 B         cast-no.
 9               Mr. Conner's own self-serving testimony
10         is not credible.     He said severaf
11         conversations he had with Ms. Fauntleroy she
L2         authorized him to use her debit card. He
13         couldn't tetl me how many. He couldn't say
l4         when lhose conversat ions were.
15               Today, he said when he used the money in
16         Ms. Faunt.leroy's Wells Fargo account, it was
L1         the foan -- or it wasn't a 1oan, but he agreed
LB         to pay it back.
19               Then he said it was his money. He was
20         depositing his own money and spending his own
21-        money just out of her account. But neither of
22         those explanations were in ODC-7, his
23         Statement of Position in response to a letter
24         from my office alleging he had executed




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                                                                Page    21-9

 1         $80,000 worth of transactions agaj-nst Ms.
 2        Eauntleroyrs wel-1s Fargo account without her
 3         knowledge or permission.
 4              He claims he didn't inc]ude that because
 5        he wasnrt asked. But when someone receives              a

 6        Ietter accusj-ng them of stealing $80,000,            why

 1        wou1dn't they incfude that explanation in
 8         their response ?
 9              In his cros s -examination of Ms.
10         Fauntleroy, he brought out that around the
11         time that Ms. Fauntleroy signed thj-s Power of
t2         Attorney, she was running out of money. fn
13         spite of that, she authorized him to use her
l4         debit card at the casino. ft doesn't          make

15

16               He said that she didn't have $100,000            for
71         him to stea.I .    Yet he liquidated    a life
18         insurance poficy      an   the amount of $112,000
19         which was put in a savlng account.         And the
20         Pane.I can review     the bank statements. Slow1y
2L         but surely, aI1 of those funds were
1a         transferred into Ms. Faunt.l-eroyr s We1ls       Eargo

23         account.
24               RS_5        excuse me, RS-4, the accounting




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                                                                            Paqe 220
 1        that Mr. Conner provided to Ms. Fauntleroy
 2        doesn't match the        transactions. Why?
                                         ca s rno

 3        Because he didn't have her permission to
 4        execute them.            He    was conceafing those
 q        transactions f rorn her .
 6             Additionally, what else do we see about
 1        those accountings in RS-4 and RS-5? There is
          no support for the figures in there. I used
 9        Ms. Thomas as an example. RS-4 says she                         was

10        paid a salary of about $16,000. RS-5 says
11         it's       $19, 000.
1,2             But we went through all of the checks
13         that Mr. Conner produced. And there was about
t4         $14,000 including $1000 cash transaction.
15        Again, why did Mr. Conner inflate these
16        figures on the accounting he provided lo                        Ms.

7'l        Fauntleroy? Because he was concealing what                            he

18         rea11y did with Ms. Fauntleroy's funds.
79                    Mr. Conner testified          that he     has fu11y

20         reimbursed        Ms. Eauntle       roy for all of her funds
2L         that he spent at various casinos.                      He   cl aims
22         this based        on   RS-5, which       I    have   already, I
23         have already demonstrated the numbers RS-5
24         aren   I   t refiable   .




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                                                               Page 221
 1                 He does appear to have partiallY
 2         rej-mbursed Ms. Eauntleroy. Between ODC-1 and
 3         ODC-2  t he appears to have converted 999,'751      .34

 4         and he returns $67,708.15 by way of a
 5         certified check on May 1st tn 2011 .
 6              In his argument, Mr. Conner said there is
 1         no dispute that he deposited $23,000 ln cash
 I         in Ms. Fauntleroy's Wells Fargo account.
  9        That's a mi s characte ri zation . There is a
10         dlspute. Mr. Conner did not mention these
11         deposits in ODC-7 in response from a .Ietter to
72         my office alleging he converted approximatefy
13         $80,000 from this account that he supposedly
l4         deposited $23,000 into.
15                 And his testimony said he didn't include
76         that because he wasn't asked. That doesn't
71         make sense. Any reasonable person who
18         receives a leLter alleging they stole $80,000
1"9        from an account would mention $23,000 that
20         they deposited into that account subsequently.
21                   His answer to the Petition for
22         Discipline as wel1. I think I said il- was
23         seven words. He deposited cash directly into
24         her account. He doesnrt say in what amount.




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                                                                 Page 222
 1         He       doesn't say   when   -

 2                    If Mr. Conner really made these deposits,
 3         he would have made lt absolutely clear in
 4         ODC-7       in his answer to the Petition for
 5         Di   s   cipl ine .
  6                   trven if Mr. Conner had fu11y reimbursed
 1         Ms. Fauntleroy, however, it doesn't change the
  8        fact that he stole her funds to begin with.
  9        If someone robs a bank, on the way out of the
10         bank they can't just give the money to the
11         police and say, I'lf              be on my way. It doesn't
t2         change the fact they robbed the bank.
13              f renew my argument that the sanction in
74         this case must be severe. An indlvidual like
15         Mr. Conner who is willing to abuse a position
l6         of private trust in order to steal tens of
71         thousands of dollars from a vul-nerab.Ie
18         unsuspecting woman lj-ke Ms. Eauntleroy is
 19        unf      it to practice   1aw.

20                    Tn addition, Mr. Conner is unwilfing to
27         take responslbillty despite overwhelming
22         evidence to the contrary.
23              At this time, f ' d ask the Pane]- to
24         deliberate in order to determine whether the




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                                                                     Paqe 223
 1         Of   fi   ce    of Disciplinary Counsel   made   a prima
 2         faci      a    showing of at least one rufe violations.
 3         And if so, we can go into the penalty phase
 4         calfed for in Section 89151 of the
 5         Discipl j-nary Board rules         .


 6                       MS. McBRIDE: Mr. White, I have a
 1         question for you.
 B                       What do you propose is the burden of
 9         proof for lhe Panel with respect to the
10         viofation or the purported vlolatj-on of the
11         criminal statute ?
L2              MR. WHITE: It's cfear and convincing
13         evidence. So Rule of Profess.ional- Conduct
l4         8.48 says it's professiona.I misconduct for                a

15         lawyer to commit a criminal act.
16              So I believe the burden of proof is clear
L1         and convincing evidence that the criminal act
1B         was committed.
t9                       MS. MCBRIDE: Don't you need to prove         a

20         crime beyond a reasonable doubt? Isnrt that
2L         the burden in a criminaf case?
22              MR. WHITE: This isn't a criminal
23         proceeding.
24                       MS. McBRIDE: T understand that.       Bul    how




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                                                               Paqe 224
 1         do we find the predicate without having that
 2         proper burden of proof appli ed? I can
           understand if somebody has already been
 4         convicted. That's easy.
                   MR. WHITE: Yes.
  6                MS. MCBRIDE: But if we are trying to
 1         find that out in the first instance, it's          your
  B        posj-tion that it's clear and convincing
  9        evidence      ?

10                 MR.       WHITE: Yes. I befieve the burden of
11         proof in a disciplinary proceeding is clear
1.2        and convinclng evidence.
1?                 MS. McBRIDE: Even when there is an
L4         underlying crime --
15             MR. WHITE: Riqht. That's             mY

16         understanding.
 11                MR. CONNER: I respectfully disagree with
 18        that.     He ci-tes in here a criminal statute as
 19        the basis for discipline. As you just
20         indicated, usuafly if a person, a lawyer is
2t         convicted of a crime, been charged with a
 22        crlme and convicted of a crime, then it's
 ZJ        clear that this statute j-s applicable.
 24                But if you are alleging a crj-minaf




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                                                                                Page 225
  1        statuLe as the basis for profess ional
  2        misconduct, you have to be able to establlsh
  3        1-hat    a crime      was    committed, the crime of
  4        theft.        And for any crimina.I charge              it   beyond
           a reasonabfe double.                 It's not clear      and

  6        convJ-nc1ng.
  1                 MS. MCBRIDE:           That woufd be with respect
  8        to 8.48 if you          were     correct, and Ifm not
  9        se   e.rng    that.
10                  MR     CONNER:         It's relating to both of
11         them.
72                  MS. MCBRIDE: What about 8.4C? That's
13         not a criminal statute.
L4                  MR. CONNER: It's            not.    But it's        used,
15         it's basically saying that -- 8.4c I think is
t6         the one that you are re fe rring to r j-ght now i s
l1         aga in based on the fact that you have

IB         committed a crime and, therefore
L9                  MS.    MCBRIDE:         I don't think    AA

ll)                 MR.    KRAWITZ     3   We   are going to   go

2I         dellberate. But I Lhink if I understand what
22         you are saying, Mr. Conner, you are sugge s t ing
23         that the only basis for the __ YES, that the
24         only basis for what has been asserted in




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                                                                Page 226
  1        Paragraph 15 is Paragraph 14. And thatrs not
  2        -- the basis is the entire petitlon which
  3        frankly is Paragraphs 4 through 14 as pled.
  4             The basis for the violations or the
  5        alleged violations is not just Paragraph 14 of
  6        Lhe Petition for Disci     pI   ine.
  1              MR. CONNER: Thatrs not what Itm sayinq.
  I        Paragraphs  4 through 14 brings you to the
  9        point that there was theft. 4 through t4
 10        brings you to the point that there was a
 11        theft, that I committed a crime.
 t2              And that goes on to say that because I
 13        committed a criminal act, then I violated the
 t4        Rules of Professional Ethics. And that if you
 15        go onto 8.4C, the fact that I committed          a

 16        criminaf act ls conduct involving dishonesty,
 L1        fraud, deceit and mis rep re sentation .
 1B             So 4 through 14 brings you to the basis
 79        that there was a thefl . That is what
 20        Disciplinary Counsel is alleging.
 2l              MR. KRAWITZ: We understand your
 22        position.     We   are going to adjourn    and

 23        deflberate.
 24               (Whereupon, a break was taken off the




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                                                               Paqe 221
  1        record.   )


  2              MR. KRAWITZ:     Thank you.
  3              The Panel has considered all of the
  4        testirnony that we have heard today and the
           exhibits that we have been presented with.
  6        And we make a finding that there has been          a
  ,7
           prima facia showing of the violation of the
  I        Rufes of Professionaf Conduct.
  9              So at this point, we wou.Id move onto Lhe
10         dlspositional phase of this proceeding.
11              MR. tr\]HITE: I move for the admission of
72         ODC Exhibit 8 which ls the report and
13         recomrnendations of the Disciplinary Board of
t4         the Supreme Court of Pennsylvania and the
15         Supreme Court order in the matter of the
 L6        Office of Disciplinary Counsel versus John
 t'l       Kelvin Conner Docket Number 165-DB-2004.
 1B              MR. KRAWITZ: Okay.
 T9              MR. WHITE:     If f could Provide coPies to
20         the Panef.
 2I              MR. KRAWITZ: Thank you.
 22              MR. WHITE: Sure.
 23             I would also move for the admissi on ol
 24        ODC composite Exhibit 9 consj-sting of Exhibits




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                                                                    Paqe 228
 1         ODC 9A          through      9G.

 2                 MR      .   KRAWITZ:    I'm sorry. 9-A through G?
 3                 MR          WHITE:     Correct. Just to be c.Iear, f
 4         did afso move the admission of DC_8 .
 5              MR. KRAWITZ: f got 8. I just missed the
 6         G

 '7                MR.         WHITE: I could provide copies off      DC

 I         compo s     ite Exhibit 9 to the Panel.
 9                 MR.         KRAWITZ: Any issue, Mr. Conner?
10                 MR          CONNER:Yeah. I would object to
11         this.           I don't believe this is relevant or
1"2        admissibl-e.
13                 MR. WHITE:             I direct the Panef to Section
1-4        89151 of the Disciplinary Board ru1es,
t-5        specifically   subprovision --
1.6                MR. CONNER: What was that again? 89 --
1.7                MR. WHITE:             I9151, specifically
18         subprovision B6, In cases invo.Iving charges of
19         mishandling or m.isuse of funds of clients or
20         others, a financiaf net worth statement of
2L         Respondent attorney's assets and fiabilities.
22         Composite Exhibit 9 are liabilities.                 They are
23         Iiens and, I believe, one judgment aqainst Mr.
24         Conne   r   .




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                                                                  Page 229
 1                 MR. KRAWITZ: We wiff accept them.
 2                 MR. WHITE: No          additionaf exhi-bits from
 3         the Office of Disciplinary Counsel.
 4              At this time, the Office of Disciplinary
           Counsef would forego any closing arguments
  6        regardinq penalty and reserve the right to             do

 7         so in its brief.
  I                MR. KRAWITZ: Mr. Conner, do you need a
  9        moment       to look at the materials?
10                 MR. CONNER: No. I know what the
11         materi-als are.           I have no comrnent at this
t2         point    .

13                 MR. KRAWITZ: You are reserving anything
74         furthe       r for your briefing?
15                 MR        Yeah. f would just like to
                           CONNER:

l6         do some additional research on this particular
1-1        rufe. But other than that, I'm assuming that
18         if you are asking for briefs, I'11 address lt
79         at that time.
20                 MR. WHITE:I would suggest maybe keeping
21         the record open f or a week .in case Mr. Conner
22         has any evidence of mitj-gation that he would
23         Iike to provide.
 24                MR. KRAV{ITZ: It would be my




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                                                                      Paqe 230
 1         re commendat j-on   . Is a week okay?
 2                MR. CONNER: Yeah.
 3                So basical-1y, Disciplinary Counsel has
 4         found that I am in viofation of RPC 8.4B and
  (        RPC 8.4C?

  5               MR. WHITE: Under           Section 89151, I
 '7        believe the Panel      does       not have to disclose
  I        which rufe they found.
  9               MR. KRAWITZ: A11 we need to do is make                   a

10         ruJ-ing there has been        a    prima facia or
11         determine whether there has been            a   prima facia
72         showing     for a violation.         That is al-l- we need
13         to do.      So.

1.4               MR    WHITE: I apologize. Itrs 89151-A
15         not   D.

16                MR. KRAWITZ: That's what we have done.
l7         And we do not provide further detaif.                So    we

18         are going to .Ieave the record open for              one

19         week. Is that sufficient?
20                MR. CONNER: Okay. And what --
21"               MR. KRAWITZ: That woul-d be to the extent
22         you want to add anything else to the record in
23         the dispositional phase.
24                MR. CONNER: The sentencing stage?




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                                                                        Page 231
  1                   MR. KRAWITZ: Yes, whether it be
  2        mitigating factors or any other response to
  3        ODC-8 and ODC-9A          through     G.

  4                   MR. WHITE: Correct.
                      One    additional matter as       we.If   . I'd like
  6        to move for a waiver of the 3O-page limit for
  1        the brief. T think based on the stipulations
  8        a   lone   ,   my proposed findings        of fact    may wel-I

  9        be    30       pages.
10                    MR. KRAW]TZ:     Do you have any objection
11         to that ?
1.2                   MR. CONNER: I'm sorry?
13                    MR. WHITE: There j-s
                                     a requi-rement under
 1.4       the rules of disciplinary enforcement that the
 15        brief be fimited to 30 pages. I have moved
 16        for a waiver of that rule because I believe
 1_1       based on the ODC-1 and ODC-2, my proposed
 18        findings of fact will be probabl-y 30 pages.
 t9              MR. CONNER: I'm assuming that there j-s
 20        no arguments from me regarding the proposed
 27        f j-ndings of facts ?

 22                   MR. KRAWITZ: He is saying in his brief,
 23        when he submits          his brief'        he doesn't want to
 24        be limited to the 3O-page limit                 for the




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                                                                Paqe 232
  1        briefs.
  2                MS. MCBRIDE: Because the stipulaLion
  3        alone is lengthy.
  4                MR. KRAWTTZ: The stipufation of facts
  5        alone, he is suggesting could be 30 pages.
  6             MR. CONNER: Again, this brief goes
  1        towards what he is recommending as far as my
  I        punishment goes? Is that correct?
  9                MR. WHITE:That, as well as the finding
10         of a rule violation. The rule violations and
11         the pena l-ty as welf.
1.2                MR. KRAWITZ: It's    a briefing on all of
13         the issues.
1-4                MR. CONNER: My brj-ef , in turn, would be
15         my --
15                 MR. KRAWITZ: Your response.
 11                MR. CONNER: So does he file      his first
 18        and I get a chance to .Iook at it and respond
 1"9       it to?
20                 MR. KRAWITZ: Yes. But to the extent you
2L         want to address anything with regard, anything
 ).)       in the disposltional phase now based on the
 23        recommendations, we are going to leave the
 24        record open for one week --




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                                                                     Page 233
 1                MR. CONNER: Right, I understand that.
 2                MR. KRAWITZ: -- for any addi-tiona I
 3         evidence to be submitted.            So      if you feef that
 4         you want to submit any additional evi-dence,
 5         then   you needto communicate with ODC. And
  6        then we will figure out how we are going to
 1         reconvene and when to take the additionaf
  8        evidence.      Do you unders tand        ?

  9               MR.        I think do.
                        CONNER:

10              The additional evidence is, again, going
11         towards the punishment phase of this ?
72                MR. KRAWITZ: CoIreCt,             the dispositional
13         phase.
1-4               Anything furcher today?
15                MR. WHITE: Nothing from               the Offj-ce of
76         Disciplj-nary Counsel.
1-1             MR. KRAWITZ: Mr.           Conner?

18                MR. CONNER: Nothing.
79                MR. KRAWITZ: So we stand adjourned, but
20         the record remain open for one week. And
2I         thereafter, the record wj-11 be closed. And
22         the transcript wj-lI be approximate.Ly two
23         weeks. And then the briefing schedules will
24         be set.      Okay?




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                                                                 Paqe 234
  1              MR. WHfTE:     Very we1l.
                 MR. KRAW]TZ:      Thank you both.
  3              MR. WHITE:      Thank you.
                                        .

  4              MR. KRAWITZ:      We   are adj ourned.
                  (Whe   reupon, the hearing was adjourned at
   6       3:35 p.m.     )


  1               (Whe   reupon, the witness was excused.    )


   B

   o


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